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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK


    ALLSTATE INSURANCE COMPANY,
    ALLSTATE INDEMNITY COMPANY,
    ALLSTATE PROPERTY AND CASUALTY
    INSURANCE COMPANY, AND                                       C.A. No. 1:23-cv-08045-NGG-SJB
    ALLSTATE FIRE AND CASUALTY
    INSURANCE COMPANY,

                              Plaintiffs,

    vs.

    LYONS MEDICAL P.C.,
    !NSTAR I\.1EDICAL P.C.,
    STAR I\.1EDICAL IMAGING P.C.,
    MAJESTIC MEDICAL IMAGING P.C.,
    ROYAL MEDICAL IMAGING P.C.,
    MEDICAL MRI P.C.,
    JOHN S. LYONS, M.D. a/Ida JACK LYONS, M.D.,
    ERIC FELDMANN, M.D.,
    JEFFREY BYRNE,
    ANTHONY DEGRADI,
    GARYMULLAKANDOV,
    MGM VENTURES INC, AND
    JA VS VENTURES INC.,

                              Defendants.


                      STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Fed. R. Civ'. P. 41(a)(l), it is hereby stipulated and agreed by Plaintiffs Allstate

  Insurance Company, Allstate Property & Casualty Insurance Company, Allstate Indemnity

  Company, and Allstate Fire & Casualty Insurance Company (collectively "Allstate"), and

  Defendants John S. Lyons, M.D., Lyons Medical, P.C., Star Medical Imaging, P.C., Majestic

  Medical Imaging, P.C., Royal Medical Imaging, P.C., Medical MRI, P.C., Gary Mullakandov, and

  MGM Ventures Inc., through their undersigned counsel, that Allstate's Complaint (Dkt. No. 1) be


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  dismissed as to Defendants John S. Lyons, M.D., Lyons Medical, P.C., Star Medical Imaging,

  P.C., Majestic Medical Imaging, P.C., Royal Medical Imaging, P.C., Medical MRI, P.C., Gary

  Mullakandov, and MGM Ventures Inc., with prejudice and without cost to any party.



  Respectfully Submitted,


   Plaintiffs,                                       Defendants,
   Allstate Insurance Company,                       John S. Lyons, MD., Lyons Medical, P.C., Star
   Allstate Property & Casualty Insurance            Medical Imaging, P. C., Majestic Medical
   Company                                           Imaging, P.C., Royal Medical Imaging, P.C.,
   Allstate IndemnUy Company, and                    Medical MRI, P. C., Gary Mullakandov, and
   Allstate Fire & Casualty Insurance Company,       MGM Ventures Inc.,


   By Their Attorneys:                               By Their Attorneys:


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   Dated: April 3, 2024                              Dated: April 3, 2024

  SO ORDERED:


  Dated:                                                 s/Nicholas G. Garaufis
                                                        d'araufis, J.
                                                        United States District Judge




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